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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

COLE PECK,                                         §
                                                   §
       Plaintiff/Counter-Defendant,                §
                                                   §
v.                                                 §
                                                   §
ASSET MANAGEMENT ASSOCIATES,                       §
LLC,                                               §
                                                   §
       Defendant/Counter-Plaintiff,                §          Case No. 3:17-cv-02923-N
                                                   §
v.                                                 §
                                                   §
JA LYNN KUO, KAREN KUO, SUBHO                      §
MULLICK, JAMES FLETCHER III,                       §
SALIMA THOBANI, GARY MARK                          §
WILSON,                                            §
                                                   §
       Counter-Defendants.                         §

              COUNTER-DEFENDANTS’ PARTIAL MOTION TO DISMISS
 
       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Counter-Defendants Cole Peck, Ja

Lynn Kuo, Karen Kuo, Subho Mullick, James Fletcher III, Salima Thobani, and Gary Mark Wilson

(collectively, “Guarantors”) file this Partial Motion to Dismiss (“Motion”) and respectfully show

the Court as follows:

       1.      In Defendant/Counter-Plaintiff Asset Management Associates, LLC’s (“Counter-

Plaintiff”) Answer and Counterclaims (“Counterclaims”), it alleges, among other things, a cause

of action for breach of guaranty as a result of an alleged default on an underlying lease. Counter-

Plaintiff alleges that Guarantors are liable for the alleged default on the lease arising on March 1,

2017, despite a final determination by a bankruptcy court that no default existed on March 6, 2017.




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        2.     As detailed in Guarantors’ Brief in Support of this Motion filed contemporaneously

with this Court, the Counterclaims fail to state a plausible claim for relief against Guarantors on

its cause of action for alleged past-due rent arising before March 6, 2017, and the Court should

dismiss the same.

        Accordingly, Guarantors respectfully request that the Court dismiss Landlord’s claim for

past-due rent accruing before March 6, 2017, and for all other relief to which they are justly

entitled.

                                                     Respectfully submitted,

                                                     /s/ Joshua L. Hedrick
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                                                     ATTORNEYS FOR PLAINTIFF AND
                                                     COUNTER-DEFENDANTS

                                    CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing document has been furnished
to all counsel of record in accordance with the Federal Rules of Civil Procedure and the Local
Civil Rules of the U.S. District Court for the Northern District of Texas this 12th day of April,
2018.

                                                     /s/ Joshua L. Hedrick
                                                     Joshua L. Hedrick 




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